                                          CAHILL GORDON & REINDEL LLP
                                                    32 OLD SLIP
                                                 NEW YORK, NY 10005
DANIEL R. ANDERSON       JONATHAN J. FRANKEL          TELEPHONE: (212) 701-3000      MEGHAN N. McDERMOTT          JOHN A. TRIPODORO
HELENE R. BANKS          ARIEL GOLDMAN                   WWW.CAHILL.COM              WILLIAM J. MILLER            GLENN J. WALDRIP, JR.
ANIRUDH BANSAL           PATRICK GORDON                    ___________               EDWARD N. MOSS               HERBERT S. WASHER
DAVID L. BARASH          JASON M. HALL                                               NOAH B. NEWITZ               MICHAEL B. WEISS
LANDIS C. BEST           STEPHEN HARPER                 1990 K STREET, N.W.          WARREN NEWTON §              DAVID WISHENGRAD
BRADLEY J. BONDI         WILLIAM M. HARTNETT         WASHINGTON, DC 20006-1181       DAVID R. OWEN                C. ANTHONY WOLFE
BROCKTON B. BOSSON       NOLA B. HELLER                    (202) 862-8900            JOHN PAPACHRISTOS            COREY WRIGHT
JONATHAN BROWNSON *      CRAIG M. HOROWITZ                                           LUIS R. PENALVER             ELIZABETH M. YAHL
DONNA M. BRYAN           TIMOTHY B. HOWELL        CAHILL GORDON & REINDEL (UK) LLP   KIMBERLY PETILLO-DÉCOSSARD   JOSHUA M. ZELIG
JOYDEEP CHOUDHURI *      DAVID G. JANUSZEWSKI          20 FENCHURCH STREET           SHEILA C. RAMESH
JAMES J. CLARK           ELAI KATZ                        LONDON EC3M 3BY            MICHAEL W. REDDY
CHRISTOPHER W. CLEMENT   JAKE KEAVENY                     +44 (0) 20 7920 9800       OLEG REZZY
LISA COLLIER             BRIAN S. KELLEHER                  ___________              THORN ROSENTHAL
AYANO K. CREED           RICHARD KELLY                                               TAMMY L. ROY
PRUE CRIDDLE ±           CHÉRIE R. KISER ‡            WRITER’S DIRECT NUMBER         JONATHAN A. SCHAFFZIN         * ADMITTED AS A SOLICITOR IN
                                                                                                                  ENGLAND AND WALES ONLY
SEAN M. DAVIS            JOEL KURTZBERG                                              ANDREW SCHWARTZ
                                                                                                                   ± ADMITTED AS A SOLICITOR IN
STUART G. DOWNING        TED B. LACEY                                                DARREN SILVER                WESTERN AUSTRALIA ONLY
ADAM M. DWORKIN          MARC R. LASHBROOK                                           JOSIAH M. SLOTNICK
ANASTASIA EFIMOVA        ALIZA R. LEVINE                                             RICHARD A. STIEGLITZ JR.      ‡ ADMITTED IN DC ONLY
JENNIFER B. EZRING                                                                   ROSS E. STURMAN               § ADMITTED AS AN ATTORNEY
                         JOEL H. LEVITIN                                                                          IN THE REPUBLIC OF SOUTH AFRICA
HELENA S. FRANCESCHI     GEOFFREY E. LIEBMANN                                        SUSANNA M. SUH               ONLY
JOAN MURTAGH FRANKEL     BRIAN T. MARKLEY                                            ANTHONY K. TAMA

                                                       (202) 862-8910

                                                                                                           October 6, 2022


            BY ECF

            The Honorable Edgardo Ramos
            United States District Court
            Southern District of New York
            40 Foley Square
            New York, New York 10007

                            Re:      United States v. Trevor Milton, S1 21 Cr. 478 (ER)

            Dear Judge Ramos:

                    Trevor Milton, through his counsel, respectfully submits this letter brief in support of his
            Fourth Proposed Supplemental Jury Instruction (ECF 203), which we ask the Court to give with
            respect to venue. Respectfully, the Court’s proposed instruction on venue contains inaccurate
            statements of the law on venue, and it omits important statements of the law necessary to guide
            the jury’s determination.

                     “Venue is proper only where the acts constituting the offense—the crime’s ‘essential
            conduct elements’—took place.” United States v. Tzolov, 642 F.3d 314, 318 (2d Cir. 2011)
            (citing United States v. Rodriguez-Moreno, 526 U.S. 275, 280 (1999)). Not all elements of a
            crime are “essential conduct elements” for purposes of establishing venue. See United States v.
            Ramirez, 420 F.3d 134, 145 (2d Cir. 2005) (“‘having devised or intending to devise a scheme or
            artifice to defraud,’ while an essential element, is not an essential conduct element for purposes
            of establishing venue.”) (emphasis in original); United States v. Pace, 314 F.3d 344, 349 (9th
CAHILL GORDON & REINDEL LLP


                                                  -2-
Cir. 2002) (“[a]lthough a fraudulent scheme may be an element of the crime of wire fraud, it is
using wires and causing wires to be used in furtherance of the fraudulent scheme that constitutes
the prohibited conduct.”). Anterior criminal conduct—what the Supreme Court has described as
a “circumstance” element—does not constitute an “essential conduct element” of a crime for the
purposes of venue. See, e.g., Rodriguez-Moreno, 526 U.S. at 280 n.4 (citing United States v.
Cabrales, 524 U.S. 1, 7 (1998), for the proposition that “existence of criminally generated
proceeds,” which occurred in Missouri, was anterior criminal conduct and did not establish
venue when the proscribed conduct was money laundering, which occurred in Florida); United
States v. Auernheimer, 748 F.3d 525, 533 (3d Cir. 2014) (describing a “circumstance element” as
“simply a fact that existed at the time” of the criminal conduct).

        Neither the listing of Nikola stock on the Nasdaq nor the processing or execution of a
securities trade by so-called retail investors within the Southern District of New York satisfies
constitutional and statutory requirements for venue in the Southern District of New York for the
prosecution of a criminal offense for which the underlying conduct does not involve the trading
of a security. The Second Circuit has held that, “where the defendant is charged with an offense
involving the trading of securities on a stock exchange located in the [Southern District of New
York], venue in that district is appropriate.” United States v. Chow, 993 F.3d 125, 143 (2d Cir.
2021) (insider trading prosecution against tipper); see also United States v. Khalupsky, 5 F.4th
279, 291–92 (2d Cir. 2021). But the alleged criminal act in both Chow and Khalupsky, however,
was the trade itself.1 Here, Mr. Milton’s alleged offense consists of purported misstatements
about the products of a company that happens to be publicly traded on a stock exchange. The
alleged criminal act was completed when the statement was made. Trading is not an essential
conduct element of any of the charged offenses in this case. In United States v. Kim, 246 F.3d
186, 191 (2d Cir. 2001), the Second Circuit referred to the “key verbs” as a useful tool in
determining where the alleged crime is committed. The key verbs in an alleged misstatement
crime have nothing to do with key verbs around trading activity on a stock exchange.

       To establish constitutional venue, meaning the crime was “committed” in that district, the
alleged conduct that establishes venue must be “both foreseeable to [the defendant] and within

1
  In Chow, the Second Circuit entertained, but did not reach a conclusion on, an argument that servers for the
Nasdaq stock exchange may be located outside of the Southern District of New York—which, because the Nasdaq
stock exchange is an electronic exchange, would mean that the actual trading necessarily occurred outside the
Southern District. Chow, 993 F.3d at 133. The Court erred by permitting the government to solicit testimony from
lay witnesses about the location of Nasdaq but excluding the testimony from Professor Ferrell, an expert witness
with actual knowledge and experience, about the location of the Nasdaq servers. Tr. 2494:12–2498:2. Although the
Nasdaq stock exchange is headquartered in the Southern District of New York, the servers on which the Nasdaq
trading is conducted are physically located in New Jersey and Chicago. See Nasdaq Co-Location, Nasdaq,
https://www.nasdaq.com/solutions/nasdaq-co-location. See also NASDAQ Powers Up Its Colo Offerings,
DataCenter Knowledge (Feb. 7, 2012), https://www.datacenterknowledge.com/archives/2012/02/07/nasdaq-powers-
up-its-colo-offerings (“The NASDAQ OMX Data Center is located in New Jersey, and is one of the largest U.S.
trading hubs in the world, hosting both equities and options markets and providing access to major industry market
data feeds and multiple telecommunications providers.”). As such, all trading of Nikola stock necessarily occurred
outside the Southern District of New York.
CAHILL GORDON & REINDEL LLP


                                                -3-
his control.” Kim, 246 F.3d at 193. Most fundamentally, the venue requirement “demand[s] some
sense of venue having been freely chosen by the defendant.” See United States v. Kirk Tang Yuk,
885 F.3d 57, 69 (2d Cir. 2018) (internal quotations omitted). The Second Circuit has
acknowledged implicitly that, if electronic communications by a defendant are to establish
constitutional venue, those communications must be purposefully directed into the forum. See
United States v. Lange, 834 F.3d 58, 71–72 (2d Cir. 2016); United States v. Levis, 488 F. App’x
481, 485 (2d Cir. 2012).

        Today, a person, like Mr. Milton, who posts on social media does not choose a recipient.
Unlike an email, which is only sent using an email address assigned by a service provider to an
individually identified person, or a telephone call, which is only made using a phone number
assigned by a service provider to an individually identified person, a post on social media
entirely lacks a designated recipient. A person who posts on social media has no effective control
over who receives the post. Mr. Milton’s social media acts were received in every single district,
so there is nothing unique to the Southern District of New York. Finding venue in the criminal
context without any directionality in electronic communications would be unprecedented and
improper.

        With respect to Count I, violation of Section 10(b) of the Securities and Exchange Act of
1934, and Count II, violation of 18 U.S.C. § 1348, the relevant conduct for the crime charged is
the making of a misstatement. For venue to be proper in the Southern District of New York with
respect to Count I and Count II, either (i) the defendant must have made the misstatement while
physically present in the Southern District of New York, or (ii) if the defendant was not
physically present in the Southern District of New York, the defendant must have purposefully
directed the misstatement to an identified recipient in the Southern District of New York –
neither of which is supported by the evidence in the record.2

        With respect to Counts III and IV, violation of 18 U.S.C. § 1343, the relevant conduct for
the crime charged is the use of wires, which includes the use of the internet, in the making of a
misstatement. For venue to be proper in the Southern District of New York with respect to
Counts III and IV, either (i) the defendant must have used wires in the making of a misstatement
while physically present in the Southern District of New York, or (ii) if the defendant was not
physically present in the Southern District of New York, the defendant must have used wires,
which he purposefully directed through the Southern District of New York to an identified
recipient, in the making of a misstatement. See Kim, 246 F.3d at 193 (“[T]he evidence at trial
established that [the defendant] knew the fraudulent invoices would be paid by a bank in New
York. The acts that occurred in Manhattan were therefore both foreseeable to [the defendant] and
within his control, as he was the one approving the invoices for payment.” (emphasis added)). In
other words, venue would be proper only if it was both foreseeable that the wire would be routed

2
 For this reason, the Court should grant the Mr. Milton’s motion for judgment of acquittal under
Rule 29 for Counts I and II.
CAHILL GORDON & REINDEL LLP


                                             -4-
through the Southern District of New York and in his control – neither of which is supported by
the evidence in the record.3

       For the foregoing reasons, and for those reasons set forth in the Motion to Dismiss
Indictment or, in the Alternative, To Transfer Venue (ECF 11) and the Reply Memorandum in
Support of Defendant’s Motion (ECF 22), the Court should instruct the jury using the Fourth
Proposed Supplemental Request to Charge (ECF 203).


                                                           Respectfully submitted,



                                                           /s/ Bradley J. Bondi
                                                           Bradley J. Bondi
                                                           CAHILL GORDON & REINDEL LLP
                                                           1990 K Street NW, Suite 950
                                                           Washington, DC 20006
                                                           (202) 862-8910
                                                           BBondi@cahill.com

                                                           Marc L. Mukasey
                                                           MUKASEY FRENCHMAN LLP
                                                           570 Lexington Avenue, Suite 3500
                                                           New York, NY 10022
                                                           (212) 466-6400
                                                           Marc.Mukasey@mfsllp.com

                                                           Counsel for Trevor Milton
cc:     Counsel of Record (by ECF)




3
 For this reason, the Court should grant the Mr. Milton’s motion for judgment of acquittal under
Rule 29 for Counts III and IV.
